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                                                                            MAGISTRATEJUDGE
                                                                           JEFFREY I. EUMMINGS
 UNITED STATES OF                AMERICA       )
                                               )   No.      Lg CR 277
           V.                                  )
                                               ) Violations: Title   18, United States
 CONCEPCION MALINEK                            )   Code, Sections 1589(a)(2), (a)(3), (a)( )
                                               )   and 1546
                                               )
                                               )      Supersedins Indictment
                                                                                JUDGE CHANGi
                                         COUNT ONE
                                                                       IIAGISTR{IE JUDGE CoLE
           The SPECIAL JANUARY 2019 GRAND JURY charges:

           Between in or around December 2018, and on or about March 26,2,019, in the

 Northern District of Illinois, Eastern Division, and elsewhere,

                                    CONCEPCION MALINEK,

 defendant herein, did knowingly provide and obtain the labor and services of a

 person, namely Victim 1, by means of: (a) serious harm and threats of serious harm

 to Victim 1 or another person; (b) abuse and threatened abuse of the law and legal

 process; and (c) a scheme, plan, and pattern intended to cause Victim 1 to believe

 that, if Victim 1 did not perform such labor and services, Victim 1 or another person

 would suffer serious harm;

           In violation of Title 18, United States   Code, Sections 1589(a)(2), (a)(3) and

 (a)(a).
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                                      COUNT TWO

          The SPECIAL JANUARY 2019 GRAND JURY further charges:

          Between in or around December 20L8, and on or about March 26,2019, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                               CONCEPCION MALINEK,

defendant herein, did knowingly provid.e and obtain the labor and services of a

person, namely Victim 2, by means of: (a) serious harm and threats of serious harm

to Victim 2 or another person; &) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 2 to believe

that, if Victim 2 did not perform such labor and services, Victim 2 or another person

would suffer serious harm;

          In violation of Title 18, United States   Code, Sections 1589(a)(2), (a)(3) and

(a)(a).
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                                    COUNT THREE

          The SPECIAL JANUARY 2019 GRAND JURY further charges:

          Between   in or around April 20t8, and on or about March 26, 2019, in      the

Northern District of Illinois, Eastern Division, and elsewhere,

                               CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 3, by means of: (a) serious harm and threats of serious harm

to Victim 3 or another person;    ft)   abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 3 to believe

that, if Victim 3 did not perform such labor and services, Victim 3 or another person

would suffer serious harm;

          In violation of Title 18, United States Code, Sections 1589(a)(2),   (a)(3) and

(a)(a).
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                                        COUNT FOUR

          The SPECIAL JANUARY 2019 GRAND JURY further charges:

          Between in or around January 2019, and on or about March 26, 2019, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                  CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 4, by means of: (a) serious harm and threats of serious harm

to Victim 4 or another person; (b) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 4 to believe

that, if Victim 4 did not perform such labor and services, Victim 4 or another person

would suffer serious harm;

          In violation of Title   18, United States Code, Sections 1589(a)(2), (a)(3) and

(a)(a).
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                                      COUNT FIVE

          The SPECIAL JANUARY 2019 GRAND JURY further charges:

          Between   in or around April   2018, and on or about March 26, 2019,     in   the

Northern District of Illinois, Eastern Division, and elsewhere,

                               CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 5, by means of: (a) serious harm and threats of serious harm

to Victim 5 or another person; (b) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 5 to believe

that, if Victim 5 did not perform such labor and services, Victim 5 or another person

would suffer serious harm;

          In violation of Title 18, United States   Code, Sections 1589(a)(2), (a)(3) and

(a)(a).
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                                      COUNT SD(

          The SPECIAL JANUARY 2019 GRAND JURY further charges:

          Between   in or around August 20L8, and on or about March 26, 20L9, in the

Northern District of Illinois, Eastern Division, and eLsewhere,

                               CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 6, by means of: (a) serious harm and threats of serious harm

to Victim 6 or another person; &) abuse and threatened abuse.of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 6 to believe

that, if Victim 6 did not perform such labor and services, Victim 6 or another person

would suffer serious harm;

          In violation of Title 18, United States   Code, Sections 1589(aX2), (a)(3) and

(a)(a).
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                                      COUNT SEVEN

         The SPECIAL JANUARY 2019 GRAND JURY further charges:

         Between in or around December 20L8, and on or about March 26,2019, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                                 CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 7 , by means of: (a) serious harm and threats of serious harm

to Victim 7 or another person; &) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 7 to believe

that, if Victim 7 did not perform such labor and services, Victim 7 or another person

would suffer serious harm;

         In violation of Title   18, United States Code, Sections 15S9(aX2), (a)(3) and

(aXa).
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                                     COUNT EIGHT

          The SPECIAL JANUARY 2o:rg GRAND JURY further charges:

          Between in or around December 2018, and on or about March 26, 20L9, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                               CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 8, by means of: (a) serious harm and threats of serious harm

to Victim 8 or another person; @) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 8 to believe

that, if Victim 8 did not perform such labor and services, Victim 8 or another person

would suffer serious harm;

          In violation of Title 18, United States Code, Sections 1589(a)(2), (a)(3) and
(a)(a).
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                                     COUNT NINE

         The SPECIAL JANUARY 2019 GRAND JURY further charges:

         Between in or around December 2018, and on or about March 26,20t9, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                               CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 9, by means of: (a) serious harm and threats of serious harm

to Victim 9 or another person; O) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 9 to believe

that, if Victim   I did not perform such labor and services, Victim 9 or another person
would suffer serious harm;

         In violation of Title 18, United States Code, Sections 1589(a)(2), (a)(3) and
(aXa).




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                                     COUNT TEN

         The SPECIAL JANUARY 2019 GRAND JURY further charges:

         Between   in or around October 2OOg, and in or around August 20L4, in the
Northern District of Illinois, Eastern Division, and elsewhere,

                              CONCEPCION MALINEK,

defendant herein, did knowingly provide and obtain the labor and services of a

person, namely Victim 10, by means of: (a) serious harm and threats of serious harm

to Victim 10 or another person; (b) abuse and threatened abuse of the law and legal

process; and (c) a scheme, plan, and pattern intended to cause Victim 10 to believe

that, if Victim 10 did not perform such labor and services, Victim 10 or another person

would suffer serious harm;

         In violation of Title 18, United States   Code, Sections 1589(a)(2), (a)(3) and

(aXa).




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                                 COUNT ELEVEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      In or around February 2019, in the Northern District of Illinois,   Eastern

Division,

                            CONCEPCION MALINEK,

defendant herein, did knowingly possess, obtain, accept, and receive a permanent

resident card and social security card    in the name of Victim 1 as evidence of
authorized stay or employment in the United States, which the defendant knew to be

forged, counterfeited, falsely made, and unlawfully obtained;

      In violation of Title 18, United States Code, Section 1546(a).




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                                 COUNT TWELVE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      In or around   December 2018,    in the Northern District of Illinois, Eastern
Division,

                             CONCEPCION MALINEK,

defendant herein, did knowingly possess, obtain, accept, and receive a permanent

resident card and social security card    in the name of Victim 2 as evidence of
authorized stay or employment in the United States, which the defendant knew to be

forged, counterfeited., falsely made, and unlawfully obtained;

      In violation of Title 18, United States Code, Section 15a6(a).




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                               COUNT THIRTEEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      In or around February 2019, in the Northern District of Illinois, Eastern
Division,

                            CONCEPCION MALINEK,

defendant herein, did knowingly possess, obtain, accept, and receive a permanent

resident card and social security card    in the name of Victim 4 as evidence of
authorized stay or employment in the United States, which the defendant knew to be

forged, counterfeited, falsely made, and unlawfully obtained;

      In violation of Title 18, United States Code, Section 1546(a).




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                               COUNT FOURTEEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      In or around January 2019, in the Northern District of Illinois, Eastern
Division,

                            CONCEPCION MALINEK,

defendant herein, did knowingly possess, obtain, accept, and receive a permanent

resident card and social security card    in the name of Victim 7 as evidence of
authorized stay or employment in the United States, which the defendant knew to be

forged, counterfeited, falsely made, and unlawfully obtained;

      In violation of Title 18, United States Code, Section 1546(a).




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                           FORFEITURE ALLEGATION

      The SPECIAL JANUARY 20Lg GRAND JURY further alleges:

      1.      Upon conviction of an offense in violation of Title 18, United States Code,

Section 1589, as alleged   in Counts   One through Ten of the foregoing Superseding

Indictment,

                              CONCEPCION MALINEK,

defendant herein, shall forfeit to the United States of America any property which

constitutes and is derived from proceeds defendant obtained as a result of such

offense, property involved in, used and intended to be used to commit and to facilitate

the commission of such offense, and property traceable to such property, as provided

by Title 18, United States Code, Sections 1594(d)(1) and (dXz).

      2.      The property to be forfeited" includes but is not limited to United States

currency seized from the defendant's residence on or about March 26, 2019, in the

approximate amount of $3,549.




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      3.     If any of the property described above, as a result of any act or omission

by the defendant: cannot be located upon the exercise of due diligence; has been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty,       the

United States of America shall be entitled to forfeiture of substitute property,    as

provided in Title 21, United States Code Section 853(p).




                                               A TRUE BILL:




                                               FOREPERSON




 UNITED STATES ATTORNEY




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